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14                          UNITED STATES DISTRICT COURT
15                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                  No. CR 2:24-cr-00091-ODW
17
18             Plaintiff,                       DECLARATION OF LEO J. WISE IN
                                                SUPPORT OF GOVERNMENT’S
19                    v.                        SECOND MOTION IN LIMINE TO
                                                EXCLUDE FBI HANDLING AGENT’S
20   ALEXANDER SMIRNOV,                         ALLEGED MISTAKES
21
               Defendant.
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 1                             DECLARATION OF LEO J. WISE
 2   I, Leo J. Wise, declare as follows:
 3      1. I am an attorney of record for the United States in the above-captioned case. I have
 4         personal knowledge of the matters contained in this declaration, and, if called as a
 5         witness to testify, I would competently testify to them. This declaration is offered
 6         in support of the government’s Second Motion in Limine to Exclude FBI Handling
 7         Agent’s Alleged Mistakes.
 8      2. The defendant opposes the motion, suggesting that he intends to improperly
 9         introduce evidence, argument, or questioning concerning the FBI Handling Agent’s
10         alleged mistakes, including purported documentation errors reflected in a Human
11         Source Validation Report dated February 13, 2013, a Standard Validation Report
12         dated February 13, 2013 to March 18, 2021, and a Standard Validation Report dated
13         March 18, 2021 to November 16, 2023.
14      3. On Friday, October 25, 2024, my office emailed a letter to counsel for the defendant
15         regarding the subject of the government’s proposed motions in limine, including the
16         matters, issues, and topics addressed in the Second Motion in Limine. On Monday,
17         October 28, 2024, the defendant’s counsel emailed his response, opposing the
18         motion and therefore refusing to stipulate that he will not make “argument[s] or
19         [mention] anything that purports to be evidence that the Handling Agent failed to
20         properly document otherwise illegal activity (OIA), consensually monitored
21         conversations, the defendant’s foreign travel, the defendant’s residence, and the
22         defendant’s assistance with the FBI” in the presence of the jury, unless and until the
23         Court so rules.
24      4. The government will suffer prejudice if its Second Motion in Limine is denied, and
25         the defendant is permitted to introduce evidence concerning alleged mistakes made
26         by the Handling Agent because such evidence is irrelevant under Federal Rule of
27         Evidence 401, inadmissible under Federal Rule of Evidence 402, and would cause
28         unfair prejudice under Federal Rule of Evidence 403.

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 1     5. On October 24, 2024, the government received a letter from the defendant’s counsel
 2        marked “confidential” with the subject “Touhy Request in United States v. Smimov,
 3        2:24-cr-00091-ODW.” Because that letter contains sensitive information including
 4        personally identifying information and was marked “confidential,” the government
 5        has accurately quoted the non-confidential portions of that letter for background and
 6        context in its Second Motion in Limine, but has not filed it publicly.
 7     6. The motion also refers to a Human Source Validation Report from February 13,
 8        2013, a Standard Validation Report from February 13, 2013 to March 18, 2021, and
 9        a Standard Validation Report from March 18, 2021 to November 16, 2023, all of
10        which are marked “confidential.” Because the reports contain sensitive information,
11        the government has accurately quoted and referenced the non-confidential portions
12        for background and context in its Second Motion in Limine, but has not filed them
13        publicly. Upon request, the government is happy to provide copies for the Court.
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15                            Executed on this 1st day of November, 2024 in Baltimore,
16                            MD.
17                            Respectfully submitted,
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19                            Leo J. Wise
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